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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
 7
      UNITED STATES OF AMERICA,
 8
                      Plaintiff,
 9                                                                 Case No. CR05-5264FDB
              v.
10                                                                 ORDER DENYING DEFENDANT’S
      ROMULO BAUTISTA-OCAMPO,                                      MOTION FOR TRANSLATION OF
11    GUSTAVO MIRAMONTES-PONCE and                                 TRANSCRIPTS AND DIRECTING
      JESUS FLORES-MANZO,                                          SUBMISSION OF EXPENSE
12                                                                 REQUEST
                      Defendant.
13

14          Before the Court is the motion of Defendant Romulo Bautista-Ocampo for an order requiring

15   the Government to enhance the quality of certain audio recordings and to provide transcripts. Based

16   on the Government’s representations that it does not have the necessary equipment and that it’s only

17   recourse is to send the recordings to the FBI, at great delay, or retain the services of a private firm,

18   the Court finds that Defendant’s motion should be denied. The Defendant is, however, entitled to

19   obtain enhanced versions of the recordings to determine whether they are in any way exculpatory.

20          ACCORDINGLY,

21          IT IS ORDERED:

22          (1)     Defendant’s motion for an order requiring the Government to enhance and produce

23                  audio recordings (Dkt.#48) is DENIED; and

24

25          (2)     Defendant is directed to submit to CJA an appropriate request for expert witness

26   ORDER - 1
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 1               services to cover the expense of hiring a private entity for enhancement of the

 2               recordings.

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 4        DATED this 15th day of September, 2005.

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                                               A
                                               FRANKLIN D. BURGESS
                                               UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
